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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 22-cv-22538-ALTMAN/REID

  PIERCE ROBERTSON, et al.,

          Plaintiffs,

  v.

  MARK CUBAN, et al.,

          Defendants.
                                         /

                                 ORDER FOLLOWING HEARING

          This cause comes before the Court following a discovery hearing conducted on January 6,

  2023. [ECF No. 76]. At the hearing the parties discussed the following issues: (1) Defendants’

  request to bifurcate deposition discovery; (2) Defendants’ responses to Plaintiff’s initial discovery

  requests; (3) the date for Defendant Mark Cuban’s deposition; (4) whether Mr. Cuban’s deposition

  will be limited to jurisdictional issues; (5) the date Defendant Dallas Mavericks (“Mavericks”)

  must produce employees Ryan Mackey and Kyle Tapply to be deposed; (6) scheduling the in-

  person depositions of three Florida-based Plaintiffs, Pierce Robertson, Rachel Gold, and Sanford

  Gold, as well as non-party Eric Rares (Rachel Gold’s husband); and (7) Plaintiffs’ responses to

  Defendants’ First Omnibus Request for Production.

          Having heard from the parties, in accordance with the ruling from the bench, and for the

  reasons stated on the record, it is ORDERED AND ADJUDGED as follows:

       1. Defendants’ request to bifurcate discovery allowing Plaintiffs to initially depose witnesses
          regarding solely jurisdictional issues is denied’

       2. Mark Cuban’s deposition, scheduled to take place in Dallas, Texas, on February 2, 2023,
          will be taken in full and will not be limited to jurisdictional issues;

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        3. The three Florida-based Plaintiffs shall appear for in-person depositions as follows:

               a. Pierce Robertson may be deposed in Chicago, Illinois during the week of January
                  9, 2023;

               b. Rachel Gold shall be deposed in her Coral Springs, Florida home on January 23,
                  2023;

               c. Sanford Gold shall be deposed in Miami, Florida, on either January 23 or 24, 2023;

               d. Non-party Eric Rares shall be deposed in Miami, Florida on either January 23 or
                  24, 2023;

        4. Plaintiffs shall produce outstanding discovery requested in Defendants’ First Omnibus
           Request for Production. Specifically, Plaintiffs must produce outstanding discovery
           relating to Plaintiffs’ Voyager accounts and trading and financial information related to
           those Voyager accounts by the close of business January 13, 2023. With respect to the
           request for “documents relating to any investment accounts with any brokerage firm,
           person or entity,” at this juncture, Plaintiffs have not established the relevancy of those
           documents; and

        5. Defendants shall produce Mavericks employees Ryan Mackey and Kyle Tapply to be
           deposed prior to February 23, 2023. Defendants shall prioritize and produce all discovery
           to Plaintiffs as to these two individuals by the end of January 2023.

           DONE AND ORDERED in Chambers at Miami, Florida this 6th day of January 2023.




                                                         LISETTE M. REID
                                                         UNITED STATES MAGISTRATE JUDGE


  cc:      U.S. District Court Judge Roy K. Altman; and

           All Counsel of Record




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